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v_ No: 03-2569-NFF
D/P

HOME TECH SERV|CES CO., lNC.,
MEMPH|S FlNANClAL SERV|CES, lNC.,
WORLDW|DE MORTGAGE CORP.,
NOVASTAR MORTGAGE, lNC.

ECONOM|C ADVANTAGES CORPORAT|ON,
EQU|TY TlTLE AND ESCROW CO. OF
MEMPH|S, LLC.,

GREGG DREW,

Defendants.

 

[`PRU'PUS'E’D] ORDER GRANT|NG PROTECT|VE ORDER

 

This matter came before the court upon the motion of Defendants, Home Tech
Services, lnc.; Nlemphis Financial Services, lnc.; and Worldwide Nlortgage Corporation;
(“Defendants”) for a protective order concerning Rule 26 expert disclosuresl Upon
consideration of the matter, it appears the Defendants motion should be granted.

lT lS THEREFORE ORDERED that Defendants expert disclosure shall be due

not less than sixty (60) days after Plaintiffs makes Rule 26(a) disclosures and responds

fully to all outstanding discovery. M

U.S. Magistrate Judge

Date: A\Jqu<lwt' l"l£ ?/UQY_'

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Notice of Distribution

This notice confirms a copy of the document docketed as number 376 in
case 2:03-CV-02569 Was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listed.

 

 

Sapna V. Raj

1\/[E1\/[PH[S AREA LEGAL SERVICES, lNC.
109 N. Main Street

Ste. 201

1\/lemphis7 TN 38103

Christopher S. Campbell

HARRIS SHELTON DUNLAP COBB & RYDER
One Commerce Square

Ste. 2700

1\/lemphis7 TN 38103

Jennifer Shorb Hagerman
BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/lemphis7 TN 38103

Webb A. Brewer

1\/[E1\/[PH[S AREA LEGAL SERVICES, lNC.
109 N. Main Street

Ste. 201

1\/lemphis7 TN 38103

John S. GolWen

BASS BERRY & SIMS PLC- Memphis
100 Peabody Place

Ste. 900

1\/lemphis7 TN 38103

Roscoe Porter Feild

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/lemphis7 TN 38103

Bruce E. Alexander

WEINER BRODSKY SIDMAN KIDER, P.C.
1300 19th Street, N.W.

5th Hoor

Washington, DC 20036--160

Case 2:03-cV-02569-BBD-tmp Document 376 Filed 08/17/05 Page 3 of 3 PagelD 389

John L. Ryder

HARRIS SHELTON DUNLAP COBB & RYDER
One Commerce Square

Ste. 2700

1\/lemphis7 TN 38103

Virginia M. Patterson

THE HARDISON LAW FIRM
119 S. Main St.

Ste. 300

1\/lemphis7 TN 38103

Loys A. Jordan
MCDONALD KUHN
119 South Main St.
Ste. 400

1\/lemphis7 TN 38103

Mitchel H. Kider

WEINER BRODSKY SIDMAN KIDER, P.C.
1300 19th Street, N.W.

5th Hoor

Washington, DC 20036--160

Evan Nahmias
MCDONALD KUHN
119 South Main St.
Ste. 400

1\/lemphis7 TN 38103

Kristen C. Wright

BASS BERRY & SIMS PLC- Memphis
100 Peabody Place

Ste. 900

1\/lemphis7 TN 38103

W. Timothy Hayes

THE HARDISON LAW FIRM
119 S. Main St.

Ste. 300

1\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

